        Case 2:15-cr-00174-KJD-BNW
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     BENJAMIN C. DURHAM
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     702.631.6111
 4
     Attorneys for Defendant
 5
                                  UNITED STATES DISTRICT COURT
 6
                                         DISTRICT OF NEVADA
 7

 8   UNITED STATES OF AMERICA,   )
                                 ) CASE NO: 2:15-CR-174
 9                 Plaintiff,    )
                                 )
10
     vs.                         ) STIPULATION & [PROPOSED] ORDER
11                               ) TO MODIFY CONDITIONS OF RELEASE
     MARK JONES,                 )
12                               )
                   Defendant.    )
13
     ____________________________)
14
           IT IS HEREBY STIPULATED AND AGREED, by and between DANIEL COWHIG,
15
     Assistant United States Attorney, counsel for Plaintiff, and BENJAMIN C. DURHAM, counsel
16

17   for Defendant, that Mr. Jones’ conditions of release be modified as follows:

18         (20) Travel restricted to Clark County, or as approved by pretrial services. (Remove
19
     State of Ohio)
20
           (22) The defendant shall maintain residence with mother and brother, Mike Jones.
21
           DATED this 24th day of June, 2016.
22

23   BENJAMIN DURHAM LAW FIRM                 DANIEL G. BOGDEN
                                              United States Attorney
24
            /s/                         /s/
25
     ___________________________ _________________________________
26   BENJAMIN DURHAM             DANIEL COWHIG
     Nevada Bar No. 7684         Assistant United States Attorney
27   601 S. 10th St.             501 Las Vegas Blvd South, Suite 11oo
     Las Vegas, NV 89101         Las Vegas, Nevada 89101
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     Attorney for Defendant      Attorney for Plaintiff




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 6
                                UNITED STATES DISTRICT COURT
 7

 8                                    DISTRICT OF NEVADA

 9   UNITED STATES OF AMERICA,   )
                                 ) CASE NO: 2:15-CR-174
10
                   Plaintiff,    )
11                               )
     vs.                         )
12                               )           ORDER
     MARK JONES,                 )
13
                                 )
14                 Defendant.    )
     ____________________________)
15

16
                                              ORDER
17
           IT IS HEREBY ORDERED that the Defendant’s conditions of release be modified as
18
     follows:
19

20         (20) Travel restricted to Clark County, or as approved by pretrial services. (Remove

21   State of Ohio)
22
           (22) The defendant shall maintain residence with mother and brother, Mike Jones.
23

24         DATED AND DONE this _____            June
                                28th day of __________________, 2016.
25

26

27                                         _______________________________
                                           UNITED STATES MAGISTRATE JUDGE
28




                                                 2
